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 7

 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10

11   JAMES MCAVOY, JOANNA                       Case No.:
     MCAVOY                                     [Los Angeles County Superior Court
12                                              Case No.: 22AVCV00034]
                        Plaintiffs,
13
     v.                                         NOTICE OF REMOVAL OF ACTION
14                                              UNDER 28 U.S.C. §1332 & §1441(B)
     LOWE’S COMPANIES, INC.; and                (DIVERSITY)
15   DOES 1-100, inclusive
16                      Defendants.
17
                                                Complaint Filed: January 19, 2022
18

19         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §1332 and §1441(b),
20   Defendant LOWE’S HOME CENTERS, LLC (“Defendant”), contemporaneously
21   with the filing of this notice, is effecting the removal of the below referenced action
22   from the Superior Court of the State of California for the County of Los Angeles, to
23   the United States District Court, Central District of California. The removal is based,
24   specifically, on the following grounds.
25   ///
26   ///
27   ///
28   ///
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             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1332 &
                           §1441(B) (DIVERSITY)
                                       Case 2:22-cv-02417-SVW-RAO Document 1 Filed 04/11/22 Page 2 of 7 Page ID #:2



                                        1                     JURISDICTION AND VENUE ARE PROPER
                                        2           1.   This is a civil action over which this Court has original jurisdiction
                                        3   based on diversity of citizenship pursuant to 28 U.S.C. § 1332(a), and is one which
                                        4   may be removed to this Court by Defendant pursuant to 28 U.S.C. § 1441(b) because
                                        5   it is a civil action between citizens of different states and the amount in controversy
                                        6   exceeds $75,000, exclusive of interest and costs, as set forth below. 28 U.S.C. §§
                                        7   1332, 1441(a), and 1146(b).
                                        8           2.   Venue is proper in this Court pursuant to 28 U.S.C. §§ 84(c), 1391 and
                                        9   1446.
                                       10                        PLEADINGS, PROCESS AND ORDERS
                                       11           3.   On January 19, 2022, Plaintiffs JAMES MCAVOY and JOANNA
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                                       12   MCAVOY commenced the above-entitled civil action in the Superior Court for the
                                       13   County of Los Angeles by filing a Complaint therein entitled James Mcavoy and
                                       14   Joanna Mcavoy v. Lowe’s Companies, Inc., Case No. 22AVCV00034. True and
                                       15   correct copies of the Summons, Complaint, Civil Case Cover Sheet, and Notice of
                                       16   Case Assignment, which were filed in this matter, are attached and incorporated by
                                       17   reference collectively as Exhibit “A.”
                                       18           4.   On February 14, 2022, an Amendment to Complaint was filed by
                                       19   Plaintiffs, naming Lowe’s Home Centers, LLC as the correct defendant. True and
                                       20   correct copy of the Amendment to Complaint is attached hereto as Exhibit “B.”
                                       21           5.   On February 25, 2022, Defendant Lowe’s Home Centers, LLC filed its
                                       22   Answer to Plaintiffs’ Complaint, Demand for Jury Trial and Notice of Posting Jury
                                       23   Fees. True and correct copies of Defendant LOWE’S HOME CENTERS, LLC’s
                                       24   Answer to Complaint, Demand for Jury Trial and Notice of Posting Jury Fees are
                                       25   collectively attached hereto as Exhibit “C.”
                                       26           6.   On February 25, 2022, Plaintiffs filed a Request for Dismissal as to
                                       27   defendant Lowe’s Companies, Inc. A true and correct copy of the conformed Request
                                       28   for Dismissal is attached hereto as Exhibit “D.”
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                                                     NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1332 &
                                                                    §1441(b) (DIVERSITY)
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                                        1          7.     The following documents are on file with the Los Angeles Superior
                                        2   Court, although they were not served on Defendant LOWE’S HOME CENTERS,
                                        3   LLC:
                                        4                 a.    Order on Court Fee Waiver (as to Joanna Mcavoy), filed January
                                        5   20, 2022, a true and correct copy of which is attached hereto as Exhibit “E.”
                                        6                 b.    Order on Court Fee Waiver (as to James Mcavoy), filed January
                                        7   20, 2022, a true and correct copy of which is attached hereto as Exhibit “F.”
                                        8                 c.    Notice of Case Reassignment and Order for Plaintiff to Give
                                        9   Notice, filed January 27, 2022, a true and correct copy of which is attached hereto as
                                       10   Exhibit “G.”
                                       11          8.     The attached exhibits constitute all process, pleadings and orders served
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                                       12   upon Defendant LOWE’S HOME CENTERS, LLC or on file with the Superior Court
                                       13   in this matter.
                                       14                                         DIVERSITY
                                       15          A.     Citizenship
                                       16          9.     This is a civil action over which this Court has original jurisdiction under
                                       17   28 U.S.C. § 1332, in that it is a civil action wherein the matter in controversy exceeds
                                       18   the sum of $75,000.00, exclusive of interest and costs. This action is one that may be
                                       19   removed to this Court by Defendant pursuant to 28 U.S.C. section 1441(b), as the
                                       20   action is between citizens of different states.
                                       21          10.    Plaintiffs were, at the time of the filing of this action, and presently
                                       22   remain, domiciled in the State of California and are therefore citizens of the State of
                                       23   California.
                                       24          11.    Defendant LOWE’S HOME CENTERS, LLC is a limited liability
                                       25   company. The citizenship of a limited liability company, for purposes of diversity
                                       26   jurisdiction, is the citizenship of its members. Cosgrove v. Bartolotta, 150 F.3d 729,
                                       27   731 (7th Cir. 1998); Johnson v. Columbia Properties Anchorage, LP, 437 F.3d 894,
                                       28   899 (9th Cir. 2006). Defendant Lowe’s Home Centers, LLC is a manager-managed
                                                                                        -3-
                                                    NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1332 &
                                                                   §1441(b) (DIVERSITY)
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                                        1   limited liability company with its only member being Lowe’s Companies, Inc. Lowe’s
                                        2   Companies, Inc. is a publicly traded North Carolina corporation with its principal place
                                        3   of business in North Carolina. Accordingly, LOWE’S HOME CENTERS, LLC is a
                                        4   citizen of the State of North Carolina.
                                        5         12.      Therefore, complete diversity of citizenship exists as between Plaintiffs
                                        6   and Defendant.
                                        7         C.       Fictitious Does
                                        8         13.      Defendants DOES 1 to 100, inclusive, are wholly fictitious.           The
                                        9   Complaint does not set forth the identity or status of any said fictitious defendants. In
                                       10   determining whether a civil action is removable on the basis of jurisdiction under
                                       11   section 1332(a), the citizenship of defendants sued under fictitious names shall be
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                                       12   disregarded. 28 U.S.C §. 1441(b)(1); Newcombe v. Adolf Coors Co., 157 F.3d 686,
                                       13   690-91 (9th Cir. 1998). Accordingly, the mere fact that the Complaint makes reference
                                       14   to fictitious defendants does not destroy diversity jurisdiction and does not preclude
                                       15   this action from being properly removed to this Court.
                                       16                              AMOUNT IN CONTROVERSY
                                       17         14.      Plaintiffs’ Complaint sets forth causes of action for negligence, premises
                                       18   liability, and loss of consortium. See, Exhibit “A.” Plaintiffs allege that on March
                                       19   27, 2020, Plaintiff James Mcavoy was on the premises of Defendant’s retail store for
                                       20   the purpose of purchasing goods. Plaintiff James Mcavoy contends he tripped on the
                                       21   forks of a forklift and fell to the ground, causing him to sustain injuries and damages.
                                       22   Plaintiff Joanna Mcavoy is claiming loss of consortium. Although Plaintiffs were
                                       23   prohibited from stating a specific amount demanded in their Complaint, Defendant has
                                       24   been able to ascertain through “other paper” that the amount in controversy exceeds
                                       25   $75,000.00.1
                                       26   ///
                                       27
                                            1
                                             California Law prohibits personal injury plaintiffs from stating a specific amount of
                                       28   damages sought in the complaint. See, Cal. Code Civ. Proc. § 425.10.
                                                                                        -4-
                                                    NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1332 &
                                                                   §1441(b) (DIVERSITY)
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                                        1         15.    Where a complaint does not allege a specific amount in damages, the
                                        2   removing defendant bears the burden of proving by a “preponderance of the evidence”
                                        3   facts that support an inference that the amount in controversy exceeds the statutory
                                        4   minimum. Singer v. State Farm Mut. Auto Ins. Co., 116 F.3d 373, 376 (9th Cir. 1996);
                                        5   see, McPhail v. Deere and Company, 529 F.3d 947, 955 (10th Cir. 2008) (“It is only
                                        6   the jurisdictional facts that must be proven by a preponderance – not the legal
                                        7   conclusion that the statutory threshold amount is in controversy.”). This standard is
                                        8   not a “daunting” one, as courts recognize that unlike the “legal certainty test”
                                        9   applicable where the complaint does allege a specific amount in damages, the
                                       10   removing defendant is not obligated to “research, state, and prove the plaintiff’s claim
                                       11   for damages.” McCraw v. Lyons, 863 F. Supp. 430, 434 (W.D. Ky. 1994); see also,
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                                       12   Korn v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1204-05 (E.D. Cal. 2008).
                                       13         16.    A defendant must merely set forth the underlying facts supporting its
                                       14   assertion that the amount in controversy exceeds the statutory minimum. A defendant
                                       15   must establish jurisdiction by proving jurisdictional facts, i.e., proof of what the
                                       16   plaintiff is seeking to recover. McPhail, 529 F.3d at 954-55. “Once the facts have
                                       17   been established, uncertainty about whether the plaintiff can prove [h]is substantive
                                       18   claim, and whether damages (if the plaintiff prevails on the merits) will exceed the
                                       19   threshold, does not justify dismissal.” Meridian Secs. Ins. Co. v. Sadowski, 441 F.3d
                                       20   540, 543 (7th Cir. 2006); see also, McPhail, 529 F.3d at 954 (once underlying
                                       21   jurisdictional facts are proven, “a defendant (like a plaintiff) is entitled to stay in
                                       22   federal court unless it is ‘legally certain’ that less than $75,000 is at stake”).
                                       23         17.    On March 14, 2022, Plaintiffs served on Defendant LOWE’S HOME
                                       24   CENTERS, LLC their respective Statements of Damages under California Code of
                                       25   Civil Procedure § 452.11. The Statement of Damages for each Plaintiff establishes that
                                       26   the amount in controversy in this litigation exceeds the $75,000 statutory minimum.
                                       27   True and correct copies of Plaintiffs’ Statements of Damages are attached hereto
                                       28   collectively as Exhibit “H.”
                                                                                         -5-
                                                    NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1332 &
                                                                   §1441(b) (DIVERSITY)
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                                        1         18.     Plaintiff James Mcavoy’s Statement of Damages alleges that he is
                                        2   seeking in excess of $75,000 in past and future medical expenses, among other
                                        3   damages. Ibid. Plaintiff Joanna Mcavoy’s Statement of Damages alleges that she is
                                        4   seeking in excess of $75,000 in damages for loss of consortium. Ibid. Thus, the amount
                                        5   in controversy exceeds the $75,000 statutory minimum and federal jurisdiction is
                                        6   proper.
                                        7         19.     28 USC § 1446(b)(3) provides that, where the case stated by the initial
                                        8   pleading is not removable, a notice of removal can be filed within thirty (30) days after
                                        9   receipt by the defendant, through service or otherwise, of an amended pleading,
                                       10   motion, order “or other paper” from which it may first be ascertained that the case is
                                       11   one which is or has become removable. A statement of damages under California Code
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                                       12   of Civil Procedure section 425.11, is a written statement setting forth the nature and
                                       13   amount of damages being sought, and constitutes “other paper” under section
                                       14   1446(b)(3). See Hanson v. Equilon Enterprises LLC (N.D.Cal. 2014) 2014 U.S. Dist.
                                       15   LEXIS 110795, *9 (finding statement of damages served on defendant by plaintiffs
                                       16   constituted “other paper”).
                                       17         20.     The test for whether the amount in controversy is satisfied is whether
                                       18   there is a “reasonable probability” that the claim exceeds $75,000. Scherer v. The
                                       19   Equitable Life Assurance Society of the U.S., 347 F.3d 394, 397 (2d. Cir. 2003). The
                                       20   Ninth Circuit has adopted the “either-viewpoint rule,” meaning that the amount in
                                       21   controversy requirement is satisfied if (1) Plaintiff seeks to recover more than
                                       22   $75,000.00 or (2) the recovery Plaintiff seeks will cost the defendant more than the
                                       23   jurisdictional threshold. Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 405 (9th
                                       24   Cir. 1996).
                                       25         21.     Plaintiffs’ Statements of Damages constitutes “other paper” and satisfies
                                       26   the amount in controversy requirement. Therefore, federal jurisdiction is proper.
                                       27   ///
                                       28   ///
                                                                                       -6-
                                                      NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1332 &
                                                                     §1441(b) (DIVERSITY)
                                       Case 2:22-cv-02417-SVW-RAO Document 1 Filed 04/11/22 Page 7 of 7 Page ID #:7



                                        1                             TIMELINESS OF REMOVAL
                                        2         22.   This Notice of Removal is timely filed in that it has been filed within
                                        3   thirty (30) days after receipt by Defendant LOWE’S HOME CENTERS, LLC, of the
                                        4   Plaintiffs’ Statements of Damages, served on March 14, 2022, which first indicated
                                        5   that the matter is removable. 28 U.S.C. § 1446(b)(1).
                                        6         23.   Further, the instant removal is made within one year of the filing of the
                                        7   Complaint. As noted above, Plaintiffs filed their Complaint on January 19, 2022.
                                        8         24.   For the foregoing reasons, this Court has original jurisdiction under 28
                                        9   U.S.C. §§ 1332 and 1441(b).
                                       10

                                       11   Dated: April 11, 2022                            THARPE & HOWELL, LLP
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                                       13

                                       14                                              By:
                                                                                              STEPHANIE FORMAN
                                       15                                                     ANDREA BREUER
                                       16
                                                                                              Attorneys for Defendant,
                                                                                              LOWE’S HOME CENTERS, LLC
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                                                                                              (DOE 1)

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                                                   NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1332 &
                                                                  §1441(b) (DIVERSITY)
